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                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

UNITED STA TES OF AMERICA,
                                       Case No. 18-cr-00281 -S-EJL-1
            Plaintiff,
                                       RULE 11 PLEA AGREEMENT
      vs.

GLOUDINA MARIA ROBBERTSE,

            Defendant.




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I.     GUILTY PLEA

       A.      Summary of Terms. Pursuant to Federal Rule of Criminal Procedure I l(c)(l)(A)

and (B ), the defendant, the attorney for the defendant, and the government 1 agree that the

defendant will plead guilty to Count Fifteen of the Indictment, which charges the defendant with

wire fraud . in vio lation of 18 U.S.C. § 1343, and Count Thirty-Three of the Indictment, which

charges the defendant with aggravated identity theft, in violation of 18 U.S.C. §§ I 028A and 2.

The defendant will also admit the wire fraud asset forfeiture allegation in the indictment.

       This plea is voluntary and did not result from force, threats, or promises, other than any

promise made in this agreement. Upon acceptance of the defendant's guilty plea(s), and the

defendant's full compliance with the other tenns of this agreement, the government, will dismiss,

under Federal Rule of Criminal Procedure l l(c)(l )(A), Counts One through Fourteen , Counts

Sixteen through Thirty-Two and Counts Thirty-Four through Thirty-Seven as to the defendant

only and will, under Federal Rules of Criminal Procedure l l(c)(l)(B), recommend a sentence

within the guideline range detennined by the Court. Further, attached to this plea agreement is a

letter from the District Attorney's Office, in Riverside County, California ("Attachment A")

which states that the District Attorney's Office will agree to recommend concurrent time for any

prosecution of the defendant in connection with the felony complaint filed in the Superior Court

of California, County of Riverside on October 22, 2018, case number RIFI 804581.

       The defendant agrees that the Court may consider uncharged "relevant conduct," including

conduct alleged in any djsmissed counts pursuant to § l B 1.3 of the United States Sentencing

Commission Guidelines Manual ("USSG").




       1
          The word "Government" in this Agreement refers to the United States Attorney for the
District of Idaho.

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        B.      Oath. The defendant will be placed under oath at the plea hearing. The

government may use any statement that the defendant makes under oath against the defendant in a

prosecution for perj ury or false statement.

II.     W AIYER OF CONSTITUTIONAL RIGHTS AT TRIAL

        The defendant waives the following rights by pleading guilty pursuant to this agreement:

I) the right to plead not gui lty to the offense(s) charged against the defendant and to persist in that

plea; 2) the right to a trial by jury, at which the defendant would be presumed innocent and the

burden would be on the government to prove the defendant 's guilt beyond a reasonable doubt; 3)

the right to have the j ury agree unanimously that the defendant was guil ty of the offense; 4) the

right, at trial , to confront and cross-examine adverse witnesses; 5) the right to present evidence

and to compel the attendance of witnesses; and 6) the right not to testify or present evidence

without having that held against the defendant. If the court accepts the defendant's guilty plea,

there will be no trial.

III.    NATURE OF THE CHARGES

        A.      Elements of the Crime. The elements of the crime of Wire Fraud, 18 U.S.C.

§ 1343, as charged in Count Fifteen, are as folJows:

                 l.       First, the defendant knowingly participated in, devised, and intended to

devise a scheme to plan to defraud, or a scheme or plan for obtaining money or property by means

of false or fraudulent pretenses, representations, or promjses;

                2.        Second, the statements made or facts omitted as pan of the scheme were

material; that is, they had a natural tendency to influence, or were capable of influencing, a person

to part wi th money or property;

                3.        Third, the defendant acted with the intent to defraud, that is, the intent to

deceive or cheat; and


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                4.      Fourth, the defendant used, or caused Lo be used, a wire communication to

carry out or attempt to carry out an essential parl of the scheme.

        The elements of the crime of Aggravated Identi ty Theft, 18 U.S .C. §§ I 028A and 2, as

charged in Count Thirty-Three, are as follows:

                5.      First, the defendant knowingly used without legal authori ty a means of

identification of another person;

                6.      Second, the defendant knew that the means of identification belonged to a

real person; and

                7.     Third, the defendant did so during in and relation to a felony enumerated in

18U.S.C. § I028A(c).

        The crime of Wire Fraud in violation of I 8 U.S .C. § 134 3 is a felony enumerated in 18

U.S.C. § I 028A(c).

        B.      Factual Basis. If this matter were to proceed to trial, the government and the

defendam agree that the following facts would be proven beyond a reasonab le doubt :

        While living in California, the defendant devised and executed a scheme to defraud the

California Employment Development Department ("CEDD"), or obtain money or property from

CEDD by means of false or fraudulent pretenses, representations or promises. Defendant

continued the scheme when she moved to Idaho in April 2017. As part of the scheme, defendant

caused to be filed fraudulent claims for disability insurance benefits with CEDD. These claims

were submitted using the identities of real persons without their knowledge or approval. The

defendant knew these "claimants" were real persons. The claim forms submitted by the defendant

included personal identi fying information of the cla iman t, to include names, birthdates, and social

security numbers. Further, defendant would list false injuries on the claim forms and use the




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names and falsify the signatures of physicians, without their knowledge, to substantiate the

disability. These misrepresentations were material.

        Once the cl aim was approved by the CEDD, defendant received CEDD debit cards in the

name of the claimants she was impersonating. These CEDD debit cards were sent to one of

several commercial mailboxes uti lized by the defendan t in furtherance of the scheme. Defendant

activated the CEDD debi t cards and established a PIN number for the CEDD debit cards.

Thereafter, the defendant would cause money to be withdrawn from the CEDD debit cards at

banking institutions in Californ ia and/or the District of Idaho. Each time she wi thdrew, or caused

to be withdrawn, money from the CEDD debit cards, defendant caused an interstate wire transfer

from the payee bank.

        With respect to Com11s Fifteen and Thirty-Three, defendant caused 10 be filed a false

claim for benefits with the CEDD. Defendant knowingly used the identity of J.R . without tbe

knowledge or approval of J.R . Defendant knew that J.R . was a real person. This fa lse claim

caused the CEDD to pan with money in the form of a CEDD debit card in the name of J.R . that

was received by the defendant. On or about July 13,2017, Defendant caused the money from the

CEDD debit card to be withdrawn at U.S. Bank in Meridian, Idaho, resulting in an intersta te wire

transfe r therefrom. Hence, the defendant admits that her conduct constituted a wire fraud.

Defendaut also admits to aggravated identity theft of J.R . by usi ng the identity of J.R . to further

the wire fraud scheme.

        In total, the Defendant defrauded CEDD of $475,350.28.

IV.     SENTENCING FACTORS

        A.      Penalties. A viola tion of Wire Fraud, 18 U .S.C § 1343, as charged in Count

Fifteen, is punishable by:

                1.      a term of imprisonment of 20 years;


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                2.     a term of supervised release of not more than 3 years;

                3.     a maximum fine of $250,000, and a special assessment of$100.

        The crime of Aggravated Identity Theft, in violation of 18 U.S.C. §§ l 028A and 2(a). as

charged in Count Thirty-Three of the Indictment, is punishable by:

                1.     a mandatory term of imprisonment of two (2) years, to run consecutive to

                       any other tenn of imprisonment;

               2.      a term of supervised release of not more than one {l) year; and

               3.      a maximum fine of $250,000 and a special assessment of$ I 00.

        B.     Supervised Release. The court may impose a period of supervised release. No

agreement exists as to the length of supervised release.

        The law permits the combined prison time and term of supervised release to exceed the

maximum term of incarceration for the crime(s) to which the defendant is pleading gui lty.

Violation of any condition of supervised release may result in fi.1rther penalties and/or

prosecution.

        C.     Fines and Costs. The court may impose a fine. No agreement exists as to the

amount of the fine. The court may also order the defendant to pay the costs of imprisonment,

probation, and supervised release.

       D.      Special Assessment. The defendant will pay the special assessment(s) before

sentencing and will furnish a receipt at sentencing. Payment will be made to:

               The United States District Court, Clerk's Office
               Federal Building and United States Courthouse
               550 West Fort Street, Fourth Floor
               Boise, Idaho 83724.

       E.      Restitution. In addition to any forfeiture, fine, or costs imposed, the defendant

agrees to pay restitution equal to the loss caused lo any victim of the charged offense pursuant to

any applicable statute. T he defendant agrees to pay restitution in the amount ordered by the court.

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The defendant agrees that all monetary penalties imposed by the court, including restitution, will

be due immediately and subject to immediate enforcement by the government. The defendant

agrees that any payment schedule or plan set by the court is merely a minimum schedule of

payments and neither the only method, nor a limitation on the methods, available to the

government to enforce the judgment, unless the court specifically states otherwise. The defendant

is aware that voluntary payment of restitution prior to adjudication of guilt is a factor in

considering whether the defendant has accepted responsibility under the United States sentencing

guidelines ("USSG") §3E 1. 1.

        F.      Forfeiture. The defendant understands that the court will, upon acceptance of the

defendant 's guilty plea(s), enter a forfeiture order as part of the defendant's sentence. The

defendant agrees immediately to forfeit to the government: the property set out in the forfeiture

allegation(s) of the iDdictment or information to which the defendant is pleading; the property

described in any filed bill of particulars; and all property and property interests that constitute

proceeds obtained as a result of the offense, including the follow ing:

                1.      Unrecovered Cash Proceeds and/or Facilitating Property. Umecovered

proceeds of the offense of conviction obtained by the defendant, or property deri ved from or

traceable to such proceeds, which based upon actions of the defendant, was transferred ,

diminished, comingled, or is otheiwise unavailable.

        Pursuant to 21 U.S.C. § 853(p) and other applicable statutes, the government will seek

forfeiture of s ubst itute assets, or "any other property of the defendant" up to the value of the

defendant 's assets subject ro forfeiture. The government will do so when the property subject to

forfeiture cannot be forfeited for one or more of tbe following reasons:

                       a.      the property cannot be located upon the exercise of due diligence;
                       b.      the property has been transferred, sold to, or deposited with a thj rd
                               person;
                       c.      the property has been placed beyond the jurisdiction of the court;
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                        d.      the property bas been substantially diminished in value: and/or
                        e.      the property bas been commingled with other property that cannot
                                be subdivided without difficulty.

Forfeiture of substitute asseis shall not constitute an al1eration in the defendant's sentence.

        The defendant agrees that the forfeitures herein are separate from all other penalties,

including monetary ones, and are also separate from restitution. The defendant agrees to consent

to abandonment proceedings as to forfeitable property herein, and to the entry of orders of

forfeiture for such properly, including civil administrative forfeiture , civil judicial forfeiture, or

criminal fo rfeiture. Finally, the defendant agrees to waive the requirements of Federal Rules of

Criminal Procedure I l (b)( l)(J), 32.2 and 43(a) regarding: (a) notice of the forfeiture in the

chargi ng instrumem, (b) advice regarding the fo rfeiture at tbe change-of-plea hearing, (c)

announcement of the forfeiture at sentencing, and (d) incorporation of the forfeiture in the

judgment. If this agreement is wi thdrawn for any reason, the defendant waives the right to

contest all civil and administrative forfein1res that began before the withdrawal.

        The defendant agrees to assist fully in the forfeiture of the foregoing assets, and to take all

steps necessary to pass clear title to the forfeited assets to the government. The defendant will

thus, for example, execute all documents necessary to transfer such title, assist in bringing any

assets located outside of the United States within the jurisdiction of the United States, take

whatever steps are necessary to ensure that assets subject to forfeiture are not so ld, disbursed,

wasted, hidden or otherwise made unavailable for forfeiture, etc.

        The defendant will not assist any third party in asserting a claim to lhe forfeited assets in

an ancillary proceeding, related civil forfeiture case, or petition for remission or mitigation of

forfei ture. Further, the defendant wi ll testify truthfully in any such proceeding. The defendant

agrees to waive all challenges, on any grounds , to any forfeiture carried out in accordance with

this agreement.

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        The defendant is the sole owner of the properties and property interests listed above,

except as specifica lly set out herein. If the defendant is not the sole owner of these properties and

interests, representations are fa lse or inaccurate, lhe government may pursue any and all forfeiture

remedies available at law or equity based on the violations covered by this agreement.

        The defendant agrees that the forfeiture provisions of tbis agreement will survive the

defendant, notwithstanding the abatement of an y underlying criminal conviction after the

execution of this Agreement. The forfeitability of any particular property pursuant to this

agreement shall be determined as if defendant had survived, and that determination shall bind the

defendant's heirs, successors and assi gns until the agreed forfeiture is collected in full. This

includes any agreed money judgment amount. If the crime(s) involved victims, then the

defendant acknowledges and agrees that this agreement to disgorge the defendant's wrongfully-

obtained criminal proceeds for the benefit of the defendant's victims is remedial in nature.

Therefore, the defendant intends disgorgement to be completed regardless of any poss ible future

abatement of defendant' s criminal conviction. The court shall retain jurisdiction to settle any

disputes arising from application of the foregoing forfeiture provisions.

V.     UN ITED STATES SENTENCING GUIDELINES

       A.      Application of Sentencing Guidelin es. The court must consider the USSG in

determining an appropriate sentence under 18 U.S.C . § 3553. The defendant agrees that the court

may consider " relevant conduct" in determining a sentence pursuant to USSG § I Bl .3.

       The court is not a party to th is agreement. The agreement does not bind the court' s

determination of the USSG range. The court will identify the factors that will determine the

sentencing range under the USSG. While the court may take the defendant's cooperation, if any,

and the recommendations of the parties into account, the court has complete discretion to impose

any lawfol sentence, including the maximum sentence possible.


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        Recognizing that the court is not bound by this agreement, the parties agree to the

recommendations and requests set forth below.

        B.      Sentencing Guidelines Recommendations and Requests.

                l.      Government's Statements at Sentencing. The government reserves the

right to f-l11ly allocute at sentencing regarding any sentencing recommendation and to rely on any

information in support of its recommendation regardless of whether the infom1ation is contained

in the plea agreement or the presentence report.

                2.     Acceptance of Responsibility. lf the defendant clearly accepts

responsibility for the offense, the defendant will be entitled to a reduction of two levels in the

combined adjusted offense level, under USSG § 3El . I(a). The government will move for an

additional one-level reduction in the combined offense level under § 3El. l(b) if the following

conditions are met: (I) the defendant qualifies for a decrease under § 3E I.l (a); (2) the offense is

level 16 or greater; and (3) the defendant has timely notified authorities of the defendant ' s

intention to enter a plea of guilty, thereby pe1mitting the government to avoid preparing for trial

and permitting the court to allocate its resources efficiently. If, before sentence is imposed, the

defendant fails to meet the criteria set out in USSG § 3E 1. J, or acts in a manner inconsistent with

acceptance ofresponsibility, the government will withdraw or decline to make such a

recommendation.

               3.      Loss Amount. As it relates to Count Fifteen, and for USSG calculations,

the parties agree thac tile total loss was $475,350.28.

               4.      Guidelines Calculations. As it relates to Count Fifteen, the patties agree

that the following USSG calculations apply:

                       a.      § 2Bl.l(a)(J) : Base Offense Level                          7

                       b.      § 2Bl.l(b)( I)(G): More than $250,000 loss              + 12


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                       C.      § 2B I.I (b)(2)(A)(i): More than IO victims              +2

                       d.      § 2BI. l (b)(l)(C)(i) : Use of Means ofldentification
                               to Produce Other Means ofldentification               +2

                       e.      § 3£1.I(a): Acceptance of Responsibility                 -3

                       f.      Adjusted Offense Level                                   =20

T he parties also agree that the two-level enhancement for sophisticated means in § 28]. l(b)(l )(C)

does not apply.

               5.      Downward Departure or V ariance Request by Defend ant. Unless

otherwise specified in this paragraph, the defendant will not seek a downward departure or

variance under 18 U.S.C. § 3553(a), without first notifying the Government of the defendant's

intent to seek a downward departure and the defendant's reasons and bas is therefor, such notice to

be provided not less than 21 days before the date set for sentencing.

V I.     COOPERATION

         A.    Truthful Informa tion and Assistance. The defendant promises to provide

tmthful and complete information to the government and its investigative agencies, including

testimony in legal and administrative proceedings, concerning the defendant's role and the roles

of all others involved in offense-related behavior and other crimi nal activity. The defendant shall

not attempt to protect anyone through false information or omission. The defendant will not

falsely implicate anyone. Any intentional deviation from the tmth in any of the defendant's

testimony may resul t in prosecution fo r perju ry and obstruction of justice. The defendant's duty

under the terms of this agreement is to tell the trn th whether or not it bolsters the government's

case against any particular individual. The defendant specifically understands that this agreement

is not contingent upon the conviction of any person or the forfeiture of any property.

        The defendant agrees to cooperate in good faith. This means the defendant will nOL only

respond trnthfully and completely to all questions asked but will also volunteer all infon11ation
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that is reasonably related to subjects discussed. In other words, the defendant inay not omit facts

about crimes, participants, or defendant's involvement, and then claim not to have breached the

agreement because the defendant was not specificaJly asked . This agreement is breached by any

action or statement inconsistent with continued cooperation. Determination of a breach is solely

within the discretion and determination or the attorney for the government. The defendant

acknowledges that any breach of this cooperation agreement will absolve the government of any

obligation for consideration based upon cooperation and will constitute grounds for the

government to withdraw from this agreement. The defendant fo11her acknowledges that the

government's decision not to grant consideration for cooperation based on a determined breach

will not constitute grounds for the defendant 10 withdraw from this agreement.

        The defendant agrees to be available for interviews to prepare for testimony. If requested,

the defendant will submit to govenunent-administered polygraph examinations.

        The defendant agrees to identify all property related to the defendant' s crimes to which the

defendant has pleaded guilty, and any relevant conduct. The defendant will identify the extent of

any person 's or entity's (including defendant's) interest in any such property. The defendant

agrees to assist in the recovery and forfeiture of such property to the government.

        B.     Use oflnformation Against Defendant. In exchange for the defendant ' s

agreement, the government will not use new information the defendant provides (pursuant to this

agreement) about the defendant ' s own criminal conduct. The government may reveal such

information to the court. There shall be no restrictions, however, on the use of infomrntion: I)

previously known to law enforcement agencies; 2) revealed to law enforcement agencies by, or

discoverable through, an independent source; or 3) in the event there is a breach of this

agreement.




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        C.      Substantial Assistance Determination . If the government determines, in good

faith, that the defendant 's cooperation amounts to ''substantial assistance" in the investigation of

others, the government wi ll request that the court depart downward from the applicable

sentencing range, pursuant to USSG § SKI . I and/or any mandatory minimum sentence. pursuant

to 18 U.S.C. § 3553(e). Pursuant to United States v. Auld, 321 F.3d 861 (9th Cir. 2002) and

United States v. Jackson, 577 F.3 d l 032 (9th Cir. 2009), the defendant understands that any

motion for downward departure must be made as a reduction from the applicable guideline range

or the statuto1y minimum sentence, whichever is greater, consistent with USSG § 5G J. I (b). This

wil I be the base offense level regardless of whether the government also makes a motion for a

sentence below the statutory minimum sentence pursuant to 18 U.S.C. § 3553(e). The defendant

further understands that if the base offense level is based on a statutory minimum sentence, no

other reductions in the offense level will be allowed, including acceptance of responsibility, other

than the reduction for substantial assistance. If the government detennines the defendant has not

provided substantial assistance, the government will not move for a downward departure.

       The government's final decision whether to file motions pursuant to § 5Kl. l and/or 18

U.S.C . § 3553(e) will be made after evaluating the defendant's cooperation with regards to: I) the

significance and usefu lness of the defendant's cooperation, 2) the truthfulness, completeness, and

reliability of any infonnation or testimony provided by the defendant, 3) the nature and extent of

the defendant 's assistance, 4) any injury suffered, or any danger or risk of injury to the defendant

or defendant 's fami ly resulting from the defendant's cooperation, and 5) the timeliness of the

defendant's cooperation. The government's specific recommendation will tum on the facts of the

case, the sentence that likely would have been imposed absent an agreement, and the extent and

value of the cooperation provided. The government's decision not to file such a motion will not

constitute grounds for the defendant to withdraw from this agreement.

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        D.     Defendant's Assumption of Risk. The defendant agrees freely and voluntarily to

cooperate with the government, knowing the possible consequences of cooperation. The

defendant 's attorney knows of the defendant's cooperation and agrees that the defendant shall

enter into this agreement. The defendant hereby absolves the government, including its

employees, from any liability associated with this cooperation.

VII.    W AlVER OF RIGHT TO DIRECT APPEAL AND TO COLLATERAL A TTACK
        UNDER 28 U.S.C. § 2255

        A.     Waiver: In exchange for this agreement, and except as provided in subparagraph

B, the defendant waives any right to appeal or collaterally attack the entry of plea, the conviction,

the entry of judgment, and the sentence, including forfeiture and restitution. The waiver of the

challenge to the conviction includes challenges to the constitutionality of any statute of conviction

and arguments that the admitted conduct does not fa ll within any statute of conviction.

        The defendant acknowledges that this waiver shall result in the dismissal of any direct

appeal or collateral attack the defendant might file seek ing to challenge the plea, conviction or

sentence in this case. Further, the filing of such an appeal or collateral attack will breach this

agreement and will allow the government to withdraw from the agreement and take other

remedial action.

        If the defendant believes the government has not fulfilled its obligations under this

agreement, the defendant will object at the time of sentencing; further objections are waived.

        B.     Exceptions:

                1.     Direct Appeal: Notwithstanding subparagraph A, the defendant shall

retain the right to file one direct appeal if one of the following unusual circumstances occurs:

                       a.      the sentence imposed by the court exceeds the statutory maximwn;

                       b.      the court arrived at an advisory USSG range by applying an
                               upward departure under chapter 5K of the USSG; or


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                       c.      the court exercised its discretion under 18 U.S.C. § 3553(a) to
                               impose a sentence that exceeds the advisory USSG range as
                               determined by the court.

        The defendant understands that the above circumstances occur rarely and that in most

cases this agreement completely waives all appellate rights.

               2.      Motion Under 28 U.S.C. § 2255: Notwithstanding subparagraph A, the

defendant shall retain the right to file a 28 U.S.C. § 2255 motion alleging ineffective assistance of

counsel.

VIII. PROVIDING INFORMATION FOR THE PRESENTENCE REPORT

       The defendant agrees lo provide material financial and other infonnation requested by a

representative of the United States probation office for use in preparing a presentence report.

Failure lo execute releases and provide infonnatiou for the presentence report violates this

agreement and relieves the government of its obligations in this agreement. Such failure and

response by the government wi ll not, however, constitute grounds for withdrawing the plea of

guilty unless the government so requests. Providing materially false information will subject the

defendan1 to additional penalties, including an enhancement under USSG § 3C I .1 .

IX.    DISCLOSING FINANCIAL INFORMATION

       The defendam agrees to disclose all of the defendant's assets and sources of income 10 the

government, including all assets over which the defend ant exercises or exercised direct or indirect

control, or in which the defendant has bad any financial interest. The defendant also agrees to

cooperate in obtaining any records relating lo ownership of assets when sought by the

government. The defendant agrees lruthfully to complete a personal financial statement within

fourteen days from the date the defendant signs this agreement. ff the government provides a

financial statement to be completed, the defendant agrees to complete the financial statement

truthfully and accurately within fourteen days from the date the defendant signs this agreement or


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the date the financial statement is prov ided to the defendant or counsel, whichever is later. The

defendant agrees to provide updates with any material changes in circumstances, as described in

18 U .S.C. § 3664(k) within seven days of the event giving rise to the changed circumstances. The

failure timel y and accurately to complete, sign, and update the financial statements as required

herei n, may constiUHe faj Jure to accept responsibility under USSG § 3El .1, as well as other

things.

          The defendant authorizes the government: (a) to obtain a credit report on the defendan t;

(b) to inspect and copy all financial documents and infom1atiou held by the United States

probation office; and (c) to obtain financia l records related to the defendant.

          Before sentencing, defendant agrees not to russipate any assets without the consent of both

the government 's financial litigation unit and the asset forfeitu re unit. If any assets are sold, any

sale proceeds received from sale of assets will be deposited with the clerk and, upon sentencing,

paid toward any monetary penalties due as ordered in the judgment.

X.        NO RIGHT TO WITHDRAW PLEA

          The defendant understands that the court may not follow the recommendations or requests

made by the parties at the time of sentencing. The defendant cannot withdraw from this

agreement or the guilty plea, regardless of the court's actions.

XI.       CONSEQUENCES OF VIOLATING AGREEMENT

          A.     Government's Options. If the defendant fa ils to keep any promise in this

agreement or commjts a new crime, the governmen t is relieved of any obligation : 1) to make a

sentencing recommendation consistent wi th the terms promised in thj s agreement; and 2) not to

prosecute the defendant on other charges, including c harges not pursued due to this agreement.

Such charges may be brought without prior notice. In addition, if the government determines

after sentence is imposed that the defendant's breach of the agreement warrants further


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prosecution, the government may choose between letting the conviction(s) under this agreement

stand or vacating such conviction(s) so that such charge(s) may be re-prosecuted . If the

government determines that a breach warrants prosecution before sentencing, it may withdraw

from the agreement in its entirety.

         The government's election to pursue any of the above options cannot be a basis for the

defendant to withdraw the guilty plea(s) made pursuant to this agreement.

         B.     Defendant's Waiver of Rights. If the defendant fa ils to keep any promise made

in this agreement, the defendant gives up the right not to be placed twice in jeopardy for the

offense(s) to w hich the defendant entered a plea of guilty or which were dismissed under this

agreement. In addition, for any charge that is brought as a result of the defendant's fai lure to keep

this agreement, the defendant gives up: ( l) any right under the Constitution and laws of the

United States to be charged or tried in a more speedy manner; and (2) the right to be charged

within the applicable statute of limitations period if the statute of limitations has expired.

         Fu11hennore, if the defendant does not enter an acceptable p lea, the government will move

to continue the trial now set to allow the government adequate time to prepare. The defendant

agrees not to contest such a continuance, and agrees that the resulting delay would be excludable

time under 18 U.S.C. § 3J61(h).

XII.     MISCELLANEOUS

         A.     No Other Terms. This agreement is the complete understanding between the

parties , and no other promises have been made by the government to the defendant or to the

attorney for the defendant. This agreement does not prevent any governmental agency from

pursuing civil or administrative actions against the defendant or any property. Un less an

exception to this paragraph is explicitly set forth elsewhere in this document, this agreement does

not bind or obligate governmental entities other than that specified as the government in this


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agreement (i.e. , d1e United States At1orney's Office for the District ofldabo). The government

will bring the defendant's cooperation and pleas to the attention of other prosecuting authorities at

the request of the defendant or defense counsel.

        B.      Plea Agreement Acceptance Deadline. This plea offer is explicitly conditioned

on the defendant's notification of acceptance of this agreement no later than 5:00 p.m. on

November 13, 2018 .

        C.      Risk of Removal from the United States. The defendant recognizes that

pleading guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range of crimes are

removable offenses, including the offense to which the defendant is pleading guilty. Removal

and other immigration consequences are the subject of a separate proceeding, however. While

arguments may be made in such a proceeding, it is virtually certain that defendant will be

removed from the United States. The defendant nevertheless affinm that the defendant wants to

plead guilty.

XIII.   UNITED STATES ' APPROVAL

        I have reviewed this matter and the agreement. This agreement constitutes a formal plea

offer from the government. Any oral discussions with the defendant and defense counsel about a

plea do not constitute a plea offer. Any written offer or agreement made before this agreement is

no longer a valid offer by the government and is rescinded. I agree on behalf of the United States

that the terms and conditions set forth above are appropriate and are in the best interests of justice.




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BART M. DAVIS
UNITED STATES ATTORNEY
By:



                                                                    // /3·/<f
                                                             Date


XIV.           PTANCE BY DEFENDANT A.ND COUNSEL

       I have read and carefully reviewed every part of this agreement with my attorney.

understand the agreement and its effect upon my potential sentence. Furthermore, I have

discussed all of my rights wi th my attorney and I understand those rights. No other promises or

inducements have been made to me, directly or indirectly, by any agent of the government,

including any Assistant United Stales Attorney, concerning the plea to be entered in this case. I

understand that this agreement constitutes a formal plea offer from the government. Any oral

discussions between the government and me or my counsel about a plea do not constitute a plea

offer. Any written offer or agreement made before this agreement is no longer a valid offer by the

government and is rescinded. In addition, no one has threatened or coerced me to do, or to refrain

from doing, anything in connection with this case, including enter a guilty plea. I understand that,

ifl am not a citizen or naturalized citizen of the United States, by pleading guilty in this case it is

virtually certain that I will be removed from the United States . I am satisfied with my allorney' s

advice and representation in this case.




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                              BERTSE                          Date




        I have read this agreement and have discussed the contents of the agreement with my

client. The agreement accurately sets forth the entirety of the agreement. I have conveyed all

written offers from the government to the defendant pursuant to Missouri v. Frye, 132 S. Ct.

1399, 1408-09 (20 12). I understand that this agreement constitutes a formal plea offer from the

government. Any oral discussions between the government and me or my client about a plea do

not constitute a plea offer. Any written offer or agreement made before this agreement is no

longer a valid offer by the government and is rescinded. I have discussed with my client the fact

that if my client is not a citizen or naturalized citizen of the United States, by pleading guilty in

this case, it is virtually certain that my client will be removed from the United States. l concur in

my client' s decision to plead guilty as set forth above.




                                                                ,)/w /J, Zo!&
                                                             Date




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               ATTACHMENT A
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                                                      OFFICE OF
                                    TFIE DISTRICT ATTORNEY
                                            COUNTY OF RIVERSIDE

MICH AE L A. II ESTR IN
  DISTRICT ATTORNEY


                                                 November 13, 20 18

   Heather S. Patricco
   Assistant United States Attorney
   800 East Park Boulevard, Suite 600
   Boise, Idaho 83712

   RE:     Plea Agreement in Case No. 18-cr-00281-S-EJL-l (United States v. Robbertse)

   Ms. Patticco,

   As you are aware, the Riverside County District Attorney's Office has a pending case (RIF1804581)
   against Gloudina Maria Robbertse (the Defendant). Although the Defendant has not been arraigned in rhe
   Riverside Superior Court on these charges, you may convey the following offer to defense counsel on our
   behalf in order to expedite a resolution of both cases.

   Tbc Riverside District Attorney will agree to a four year state prison sentence concurrent to the te1111
   served in case l 8-cr-00281-S-EJL- l . The Riverside County D istrict Attorney will also agree that the four
   y-:.1:· prison tenn in R.IF I 804581 may be served in federal custody. Additionally, the Riverside County
   District Attorney will agree that any tern, of Post Release Commw1ity Supervision may be served
   concurrent ly to federal Supervised Released.

  This offer is conditioned on the fo llowing:

   I) The Defendant must agree to a restitution order ofS475,350.28 payable to the State of California,
   Employment Development Depa1tment.

   2) The Defendant must accept the U.S. Government's plea agreement in case 18-cr-0028 1-S-EJL-l that
   includes pleas of guilty to Counts 15 (wire fraud) and 33 (aggravated identity theft).

  3) The term of imprisonment in 18-cr-0028 1-S-EJL-l is at least 48 months.

  Should defense counsel have any questions, they may contact Deputy District Atlomey Matthew M.
  Roberts at (951) 955-2947.




                                3960 ORANGE STREET • RIV E RS I D E. C A 9250 t
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